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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
WESTCHESTER RESIDENTIAL
OPPORTUNITIES, INC, et al,

                                 Plaintiffs,                  ORDER
v.
                                                              No. 18-CV-06923 (PMH)
JEFFERSON VILLAGE CONDOMINIMUM
NO. 5, et al.,

                                   Defendants.
---------------------------------------------------------X
PHILIP M. HALPERN, United States District Judge:

        The Court has been informed that the Parties have reached a settlement in principle in

this case. Accordingly, it is hereby ORDERED that this action is dismissed without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty (30) days of this Order. Any application to reopen filed

after thirty (30) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences are CANCELED.


Dated: White Plains, New York
       May 19, 2022


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                                                     Philip M. Halpern
                                                     United States District Judge
